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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

JOSEPH WADE NUCCIO CIVIL ACTION NO.
Plaintiff,
COMPLAINT
v.
JURY TRIAL DEMAND
SHELL PIPELINE
COMPANY LP
Defendant
NATURE OF THE ACTION

This is an action wider Title I of the Americans With Disabilities Act, as amended
(“ADA”) and Titlel of the Civil Rights Act of 1991 to correct unlawful employment practices
on the basis of disability and to provide appropriate relief to Joseph Wade Nuccio (“Plaintiff”
or “Nuccio”), Who was adversely affected by such practices.

As alleged With greater particularity in the Statement of Claims below, Defendant
Shell Pipeline Cornpany LP (“Defendant” or “Shell”) discriminated against Nuccio When it
demoted him because of his disability. Additionally, Defendant discriminated against Nuccio
When it forced him to undergo an eye examination, Which Was a prohibited medical
inquiry/exam under the ADA.

JURISDICTION AND VENUE
l.

Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337, 1343

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and 1345. This action is authorized and instituted pursuant to Section 107(a) of the ADA, 42
U.S.C. § 121 l7(a), which incorporates by reference Sections 706(f) (1) and (3) of Title VII of
the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. §§ 2000e-5(f) (l) and (3) and pursuant to
Section 102 ofthe Civil Rights Act of 1991, 42 U.S.C. § 1981a

2.

The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Eastern District of Louisiana.
PARTIES
3.
Plaintiff is a person of majority age residing in Laplace, Louisiana.
4.

At all relevant times, Defendant has continuously been a partnership domiciled in the
State of Delaware with its principal business office in Houston, Texas. Shell has its principal
business establishment in Louisiana in the city of Baton Rouge and is licensed to do business
within the State of Louisiana. Shell has continuously had at least 15 employees.

5 .

At all relevant times, Defendant has continuously been an employer engaged in an
industry affecting commerce under Section 101(5) of the ADA, 42 U.S.C. § 12111(5), and
Section 101(7) of the ADA, 42 U.S.C. § 12111(7), which incorporates by reference Sections
701(g) and (h) of Title VII, 42 U.S.C. §§ 2000e (g) and (h).

6.

At all relevant times, Defendant has been a covered entity under Section 101(2) of the

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ADA, 42 U.S.C. § 12111(2).
STATEMENT OF CLAIMS
7.

At least since May 2013, Defendant has engaged in conduct in Norco, Louisiana which

violates the Title l of the Americans with Disabilities Act, as amended (“ADA”).
8.

More than thirty (30) days prior to the institution of this lawsuit, Nuccio filed a charge
of discrimination with the Equal Employment Opportunity Commission (“EEOC”) alleging
Violations of the ADA by Defendant

9.

On May 22, 2018, the EEOC issued to Defendant a Letter of Determination finding
reasonable cause to believe that the ADA was violated and inviting Defendant to join with the
EEOC in informal methods of conciliation to endeavor to eliminate the discriminatory
practices and provide appropriate relief.

1 0.

The EEOC engaged in communications with Defendant to provide Defendant the

opportunity to remedy the discriminatory practices described in the Letter of Determination.
1 1.

The EEOC was unable to secure from Defendant a conciliation agreement acceptable
to the EEOC.

12.

On October 22, 2018, the EEOC issued a Notice of Conciliation Failure.

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1 3 .
All conditions precedent to the institution of this lawsuit have been fulfilled
14.
Nuccio has at all times relevant been a qualified individual with a disability under
Sections 3 and 101(8) ofthe ADA, 42 U.S.C. §§12102 and 12111(8).
1 5 .
Defendant demoted Nuccio because of his actual or perceived impairment, monocular
vision.
1 6.
Defendant owns and operates 7 tank farms across the U.S., and transports more than 1.5

billion barrels of crude oil and refined products annually through 3800 pipeline miles across the

Gu.lf of Mexico and 5 states.

17.
Defendant hired Nuccio on September 16, 1996 as a Maintenance Technician assigned
to the Norco Terminal in Norco, Louisiana.
1 8.
Nuccio Was given a physical as part of his hire package He was also given an eye exarn.
Every person that was on the hiring team was aware that Mr. Nuccio was blind in his left eye.

Mr. Nuccio has never made any effort to hide his monocular vision impairment

19.

The Maintenance Techm`cian duties included driving pickup trucks, fork lifts and small

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boats. While employed as a Maintenance Technician and prior to the company restricting his
driving of company vehicles, Nuccio drove the company pickup truck from Norco to several
locations along the pipeline to perform his maintenance duties. Most destinations were 5 , 10, or
15 miles away. The furthest destination that Nuccio drove to was Convent, Louisiana, which is
31 miles away. He only drove to Convent 2 to 3 times per year.
20.
Nuccio’s vision impairment substantially limits his maj or life activity of seeing.

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Shell regarded and still regards Nuccio as having a substantially limiting visual
impairment
22.
Nuccio’s monocular vision is a disability under the ADA.
23.
Shell was aware for many years that Nuccio was blind in one eye.
24.
On May 13, 2013, Nuccio was involved in an accident in the company vehicle
which was not caused by his visual disability.
25.
After this accident Shell sent Nuccio to Dr. Fitko, the company's doctor, to undergo
vision testing.
26.

Shell had no reasonable, objective basis to suspect that the accident had been

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caused by Nuccio's visual disability
27.
Shell's company doctor- an internist, not an eye do ctor- recommended that
Nuccio be restricted from driving any company vehicle.
28.
Nuccio's eye specialist provided a statement Which confirmed that Nuccio was
not restricted from driving the type of pickup truck driven by the Nuccio as a
Maintenance Technician.
29.

In June 2013 Shell’s restricted Nuccio from driving any company vehicle. After
this restriction, Wylie Stice, Craft Manager, tried to get Nuccio other jobs, including a job
working in the Geismer plant. Nuccio was not selected for this position.

30.

During 2014, Dr. Fitko changed his opinion about Mr. Nuccio not being able to drive a
company vehicle. The revised company position was that Mr. Nuccio could drive a company
vehicle inside the plant.

3 1 .

Although the company claims that it accommodated Nuccio with a driver in the employ
of a contractor by picking Nuccio him up from his house for any jobs, no driver ever picked up
Nuccio to take him to a job site. Nuccio always used his own vehicle.

32.

The company also restricted Nuccio from driving his personal vehicle during company

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hours, Hom 6 a.m. to 3 or 4 pm.

In order to perform his job duties Nuccio drove his private vehicle approximately
once per week to his off-site job assignments either before working hours or during his
lunch break. Nuccio would take the tools he needed with him in his private vehicle.

34.

During this period Shell encouraged Nuccio to apply for other positions. Nuccio

did apply for several positions, but he was not selected.
35.

In November or December 2014, Nuccio’s position was made available on Open
Resources. Nuccio bid for his own job, but he did not get it. Justin Williams Was
selected for Nuccio’s job and Nuccio trained Williams to do Nuccio’s job.

36.

In the beginning of February 2015 , Wylie Stice, Craft Manager, and Wayne
Hansen, Nuccio’s supervisor, met with Nuccio and told him that he was demoted to
refinery operator. They told Nuccio that if he did not take this demotion, he would be
terminated

37.
Nuccio accepted his demotion, which Was effective on February 14, 2015.

38.

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Although Nuccio had three automotive accidents over a twelve (12) year period,
during his 20-year employment with Shell, two of the accidents were minor. Nuccio had

two (2) accidents prior to the one in May 2013. Upon information and belief, they cost the

company less than $400 each.

39.
Although the Nuccio's third accident on May 13, 2013, was serious and caused
substantial damage, no one was injured.
40.

Shell treated non-disabled employees, in cases of more severe automotive
accidents, better than it treated Nuccio. Other, non-disabled employees were
involved in very serious accidents -some resulting in fatalities -but they were not
fired or demoted. One non-disabled employee who was involved in an accident on
October 10, 2007, was subsequently arrested after an individual was killed, and was
subsequently promoted by Shell.

41.
Nuccio was able to perform the essential functions of his job With accommodation
42.

Shell failed to engage in an interactive process with Nuccio to determine what reasonable
accommodation, if any, was available to allow Nuccio to perform the essential functions of his
job.

43.
Nuccio is not restricted by the Department of Motor Vehicles in driving non-

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commercial trucks, such as the one he drove in his original position. The types of trucks
Nuccio was not allowed to drive pursuant to the Nuccio's eye specialist Were large
commercial vehicles - which he did not have to drive in his position. The only kind of truck
driven by Nuccio as a technician was a pick-up truck. There was no need to
"accommodate" Nuccio as he could perform the "essential functions of driving" the
company trucks without the need for any modification of his duties.

44.

Shell's requiring Nuccio to undergo an eye exam after the subject accident was an
illegal medical examination or inquiry. It was not based on reasonable, objective
information and was not justified by business necessity or job-relatedness

45.
Shell unlawfully demoted Nuccio because of his disability.
46.

Defendant has employees without disabilities that have had more accidents, with a higher

cost of damage, and in a shorter time frame than Nuccio.
47.

Upon information and belief Andy Wilson, an employee With Shell Pipeline, totaled a
vehicle in 2014. This accident was his fault. After the accident he was not sent to get a sight
evaluation.

48.
Upon information and belief two Shell employees had accidents that resulted in a fatality.

The first is Mr. Matthew Sherburne. Mr. Sherburne is a projects engineer in Houston. He still

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drives a company vehicle. The second is Mr. Donald Labat. Mr. Labat is an operations
supervisor. He still drives a company vehicle. Unlike these two (2) Shell employees, Mr.

Nuccio has never had an accident that resulted in a death. Neither of these Shell employees were

sent for an eye examination
49.
Defendant’s policy and/or practice of forcing Nuccio to undergo an eye exam is an
illegal medical inquiry/exam prohibited under the ADA. 42 USC§ 121 12(d)(4)(A).
50.
The practices complained of herein have deprived Nuccio of equal employment
opportunities by demoting him on the basis of his disability which violates the ADA.
5 l .
The unlawful employment practices complained of herein were intentional
52.
The unlawful employment practices complained of herein were, and continue to be,
committed with malice or with reckless indifference to Nuccio’s federally protected rights.
53.
The unlawful employment practices complained of herein have caused Nuccio to Suffer
economic injuries, including but not limited to lost wages, as well as non-pecuniary injuries.
BRAXER.FQK.REJJEE
Wherefore, the Plaintiff respectfully requests that this Court:
A. Grant a permanent injunction enjoining Defendant, its officers, successors,
assigns, and all persons in active concert or participation with it, from forcing an individual to

undergo an eye exam after an accident without reasonable, objective basis to suspect that the
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accident was caused by an employee’s visual disability and from illegally discharging an

employee who is “disabled” within the meaning of the ADA, and any other employment practice

which discriminates on the basis of disability

B. Order Defendant to institute and carry out policies, practices, and programs
which provide equal employment opportunities for qualified individuals with disabilities and
which eradicate the effects of its past and present unlawful employment practices

C. Order Defendant to make whole Nuccio by providing appropriate backpay With
prejudgment interest, in amounts to be determined at trial, and other affirmative relief
necessary to eradicate the effects of its unlawful employment practices

D. Order Defendant to promote Nuccio or to make him whole by providing him
with front pay, in amounts to be determined at trial, to eradicate the effects of Defendant’s
unlawful employment practices

E. Order Defendant to make whole Nuccio by providing compensation for past
and future pecuniary losses resulting from the unlawful employment practices described
above, in amounts to be determined at trial.

F. Order Defendant to make whole Nuccio by providing compensation for past
and future nonpecuniary losses resulting from the unlawful practices complained of above,
including but not limited to emotional and mental anguish, pain and suffering, humiliation,
loss of enjoyment of life, and devastation in amounts to be determined at trial.

G. Order Defendant to pay Nuccio punitive damages for its malicious and reckless
conduct, as described hereinabove, in amounts to be determined at trial.

H. Grant such further legal or equitable relief as the Court deems necessary

and proper.
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l. Award attorney fees and costs of this action.

JURY TRIAL DEMAND

In accordance With Rules 38 and 39 of the Federal Rules of Civil Procedure, the

Plaintiff hereby requests a jury on all issues raised in the instant Complaint which may be tried

by jury.

REGISTERED AGENT
FOR SERVICE OF
PROCESS:

CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 70816

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Respectfully submitted,

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